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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In Re:                                         :   Chapter 11
                                                :
 Bayou Steel BD Holdings, LLC                   :   Case No.: 19-12153
                                                :
                   Debtor.                      :
                                                :
 George L. Miller, in his capacity as Chapter   :
 7 Trustee of Bayou Steel BD Holdings,          :   MEDIATION STATUS REPORT
 LLC, et. al.                                   :
                                                :
                   Plaintiff,                   :
 v.                                             :   Adv. Proc. No.: 21-50204 (KBO)
                                                :
 Bobby Lashley Corporation                      :
                                                :
                 Defendants.

        In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that the mediation has not been completed and hereby provides a
projected schedule for completion.

          X           Mediation is scheduled to occur on June 27, 2022.

                      A mediation session has not yet been scheduled.

                      OTHER:


Dated: May 16, 2022                           /s/ Ian Connor Bifferato
                                            Ian Connor Bifferato (DE #3273)
                                            The Bifferato Firm P.A.
                                            1007 N. Orange Street, 4th Floor
                                            Wilmington, DE 19801
